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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                                5:20-CR-50122-JLV-02


                    Plaintiff,
                                                      AMENDED ORDER SETTING
       vs.                                             CONDITIONS OF RELEASE
KIMBERLEE PITAWANAKWAT,


                    Defendant.


IT IS ORDERED that the release of the defendant is subject to the following conditions:

      ( 1)   The defendant shall not commit any offense in violation of federal, state,
             local, or tribal law while on release in this case.

      (2)    The defendant shall immediately advise pretrial services, the U .S.
             Attorney's Office and defense counsel in writing of any change in address
             or telephone number.

      (3)    The defendant shall maintain regular contact with her counsel and
             promptly respond to any inquiries from counsel.

      (4)    The defendant shall appear at all proceedings as required and shall
             surrender for service of any sentence imposed as directed.

      (5)    The defendant shall cooperate in the collection of a DNA sample as
             authorized by statute.

      (6)    The defendant shall not possess a firearm, destructive device, live
             ammunition, or other dangerous weapon.

      (7)    The defendant shall not make contact, direct or indirect, with any person
             who may be a witness, co-defendant, or victim in this case or in any
             related case, including but not limited to Waskoness Pitawanakwat,
             Carmen Burgess, KT Burgess, and George Dull Knife.

      (8)    The defendant shall report to pretrial services as directed by that office.

      (9)    The defendant shall not change pla ce of residence without prior approval
             from Pretrial Services.
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       (10)   The defendant shall immediately report to pretrial services any contact
              with any law enforcement personnel, including, but not limited to, any
              arrest, questioning, or traffic stop.
       (11)   The defendant shall answer truthfully all inquiries by pretrial services
              and follow the instructions of pretrial services.

       (12)   The defendant shall obtain and maintain employment, approved
              schooling or a combination of both as directed by pretrial services.

       (13)   The defendant shall not travel out of the Districts of Oregon and South
              Dakota unless approved by pretrial services.

                          Advice of Penalties and Sanctions
TO THE DEFENDANT:

       YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       A violation of any of the foregoing conditions of release may result in the
immediate issuance of a warrant for your arrest, a revocation of release, an order of
detention, and a prosecution for contempt of court and could result in a term of
imprisonment, a fine, or both.
       The commission of a Federal offense while on pretrial release will result in an
additional sentence of a term of imprisonment of not more than ten years, if the offense
is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.
       Federal law makes it a crime punishable by up to ten years of imprisonment, and
a $250,000 fine or both to obstruct a criminal investigation. It is a crime punishable by
up to twenty years of imprisonment, and a $250,000 fine or both to tamper with a
witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim
or informant; or to intimidate or attempt to intimidate a witness, victim, juror,
informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If after release, you knowingly fail to appear as required by the conditions of
release, or to surrender for the service of sentence, you may be prosecuted for failing to
appear or surrender and additional punishment may be imposed. If you are convicted
of:
       (1)     an offense punishable by death, life imprisonment, or imprisonment for a
               term of fifteen years or more, you shall be fined not more than $250,000
               or imprisoned for not more than ten years, or both;
        (2)    an offense punishable by imprisonment for a term of five years or more,
               but less than fifteen years, you shall be fined not more than $250,000 or
               imprisoned for not more than five years, or both;
       (3)     any other felony, you shall be fined not more than $250,000 or imprisoned
               not more than two years, or both;
        (4)    a misdemeanor, you shall be fined not more than $100,000 or imprisoned
               not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender shall be in
addition to the sentence for any other offense. In addition, a failure to appear or
surrender may result in the forfeiture of any bond posted.
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                        Directions to United States Marshal

(X)   The defendant is ORDERED released after processing.

( )   The United States marshal is ORDERED to keep the defendant in custody until
      notified by the clerk or judicial officer that the defendant has posted bond and/ or
      complied with all other conditions for release . The defendant shall be produced
      before the appropriate judicial officer at the time and place specified, if still in
      custody.


      DATED this 22nd day of October, 2021.

                                         BY THE COURT:




                                         DANETA WOLLMANN
                                         United States Magistrate Judge
